                                                                                                                                            773-472-4146                                 p.3
Oct 08 15 08:06a                           Haderlein
             Case 15-34421                               Doc 6            Filed 10/08/15                               Entered 10/08/15 19:13:30                               Desc Main
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      Offi :jc.1 Form B 3A
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      API Iii cation for Individuals to Pay the Filing Fee in Installments
      Be.l$      on ,olete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
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      II Ii I                  SpecIfy Your Proposed Payment Timetable


        1, YI I iel e tlapter of the Bankruptcy COi~e                             a       Chapter 7
             B •      Y    U choosinll1o       file under?
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         unci ret nd that
        •          (OL must pay your entire filing fee before you make anll more payments ot transfer :my more property to an attomey. bankruptcy petition
                   l/'e arer, or anyone else for services in c:onnection with your bankruptcy case.

         •         (01.must pay the entire fee no later ll1an 120 days after you first lile for bankruptcy, unless the court rater extends your deadline. 'four
                   let 5 will not be discharged unlil ~Qur entire fee is paM!.

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